Case 2:06-cv-00535-ROS Document 17-17 Filed 03/06/06 Page 1 of 30

DVD Rumor Response-07.27.05 Page 3 ory

Beginning with some phone calls Andrew Wright, a young man pursuing a film documentary on my
life, made on his own to the WWE seeking 1) film footage of UW and 2) WWE personnel participation
in the documentary (Vince or Linda preferably), possibly in exchange for my participation in their DVD
project. Frankly, I wasn't high on this last idea. For obvious reasons, all of them vehemently expressed
over the years, I would have potentially more to lose than gain even if there was transparent,
straightforward, and effective reciprocation of some promotional sort.

Yet, Andrew is free, as the producer of the documentary, to make all the phone calls and have all the
conversations he wants, so I told him he to go ahead and explore any possibility, but I would ultimately
have final say so. | would make no promises. My initial thoughts, knowing I would have to contemplate
the idea much more seriously, were simply that my well-known beefs with WWE diminishes none of the
reverence and appreciation I have for the specialness of the Ultimate Warrior persona and unique quality
of my career creating and performing him while I was there. The fans of the character who've followed
my other pursuits over the years see it the same way, and they are able to differentiate between the
respect and interest they find in my views today, including my anti- WWE views, and the wonderful,
exciting time while I performed Ultimate Warrior in the WWF. I was told that the DVD projects were
ostensibly reminiscences of the persona’s career and [ thought that if there was a way to positively
participate in that, for the sake of Ultimate Warrior fans as well as achieve other business goals, then I
would, at the very least, be open to exploring it.

Somewhere in the middle of Andrew’s own going back and forth with underlings at WWE, WWE’s
Kevin Dunn called and left me a message informing me of the DVD project and that they were
interested in having me participate in it with commentary. I called him back, thinking his call was
directly prompted by discussions Andrew had instigated at WWE. Kevin denied this and said he had no
idea of the documentary project, which wasn't true of course, but I ;went ahead to fill him in, telling him,
again without any promises, that there might be a simple, conditional way to collaborate this one time
here and “bury one hatchet,” all the while realizing I had still had some very serious thinking to do
before reaching a final decision.

Vince and I spoke about a week later -- for that one time only, The phone call lasted about 15 minutes. It
was cordial and I got right into the reason for our talking to one another. All the details aren't necessary
and I will save telling any of them to wait and see if any more little white lies are attempted on WWE's
part, He did tell me that there would be others on the DVD who had criticisms. I didn’t have a problem
with that. In fact, my idea for my own documentary was to do a controversial point/counterpoint with
either him or Linda. But he said absolutely nothing about how vengeful the criticism was or anything
about the ridiculing spoofs, nor did he reveal any such title for the project as has been recently made
public. We simply concluded the conversation agreeing that he would instruct Kevin Dunn to follow up
with me to do all they could on their end to make my involvement happen.

Four or five days later Kevin called. He began the conversation pitching a whole “Legends” thing WWE
was now doing. I told him that Vince mentioned it, but not in any great detail for me to entertain it
intelligibly, and I urged him to stay focused on the DVD project alone.

He told me he would fax me the basic, to-start agreement, and I placed specific, conditional inquires |
would need satisfactory answers to, particularly 1) 1 would get to see what had been done thus far,
because I was not interested in watching it and responding in commentary extemporaneously, 2) the
meat of my commentary would be left unedited, 3) WWE would provide royalties on all the copyright
film ventures they intended to do throughout the future, not just this DVD project, 4) I could use all my
own commentary in my own documentary project.

He spoke confidently that he foresaw no difficulty in fulfilling these requests, but that he would have to

http://www.ultimatewarrior.com/DVDRumorResponse-07,27.05.htm 08/03/2005
Case 2:06-cv-00535-ROS Document 17-17 Filed 03/06/06 Page 2 of 3

DVD Rumor Response-07.27.05 Page 4 of ¥

check to be sure and would get back with me with concrete answers asap. In the meantime, he would go
ahead and fax over the basic agreement for my immediate review.

Two or three more days passed and no fax had yet arrived of the basi¢ agreement that I needed to
review, At about that same two or three day mark Kevin called, leaving me a message saying, oddly, he
could fax me the agreement if I was interested in doing the commentary on the project, acting as if he
never told me he would send it right over when we first spoke. He also stressed concern that they were
now working against the clock; and he left no answers to the inquires I had made. I attempted to call him
at the two numbers I had. He has no office voicemail and his cell phone voicemail was always full. I
reached his assistant at the office on one work day only, she attempted to call his cell and reached the
same dead end, but told me that he would be in later that day. He called again, not that day, but two days
later. Still no fax, still no answers -- but with a hyper warming that time was running out. I tied to call
him back, with no result, A couple days later he called and said time had run out and he needed to know
my decision by day's end, All these years building a big corporate identity, and here it was all over
again, typical, old-school WWF headgames. I called Beth Zazza, Vince's secretary, and got her email
address and sent this correspondence over within 24 hours:

“T am just writing to update Vince on follow up with Kevin Dunn on DVD issues. Please forward this to
him. Thank you.

Vince, I spoke with Kevin 4-5 days after we talked. The conversation digressed somewhat into a whole

"Legends" program type of thing, which I told him you did not bring up in any real detail and I would
have to know much, much more about before [ could address it intelligently as a businessman.

Getting back on track, I made a couple of specific inquires about the DVD project to help me decide
whether or not I would participate in this project alone and also gave him my fax number to immediately
forward potential agreement info for my review. He said he'd fax it over (last week), and get answers to
my inquires. I've received neither the fax or the answers. He's called about every third day since then,
but left no other message than to call him back. When I do, he has no office voicemail and his cell phone
voicemail box is always full. Time concerns have been stressed, but neither of us can to do this if there
isn't an agreement in place. That's not being difficult, it's being prudent and practical. I'm just writing 'to
let you know that my own schedule, now, will make me unavailable for the next few weeks, and that,
since you and I spoke, I've done all | can on my end to explore the possibility of involvement. At the end
of the day, I may have ultimately decided not to be involved. I'm not sure, but I never got the info or
answers I needed, Therefore, | must pass.

It's funny, I remember when you told me a long time ago that "Ultimate Warrior is a legend only in your
mind, no one else's." Back then, you were probably more right than you were wrong. Today, though, all
these years later, the negative, whiny criticism of others, like those to be on this DVD, only expands the
legendary status of the Ultimate Warrior in millions of other minds. The proof of this is abundant
everywhere. Similar enduring interest is not sustained about any other character. I'm confident, Vince,
that even when ali the others on the DVD talk, the viewer will still be impacted most by the euy who
was Ultimate Warrior. After all, the Ultimate Warrior set his own standard, one others are still trying to
shoot for whether they would admit it or not, and the persona doesn't really need anybody to say
anyihing more for him than he says very intensely all by himself. He was definitely a classic, and wil]
always be a legend -- in a class all his own.

Warrior’

Beth responded only to tell me she forwarded my email to Vince. My email was sent July 15th.

http://www.ultimatewarrior.con/D VDRumorResponse-07.27.05.htm 08/03/2005
Case 2:06-cv-00535-ROS Document 17-17 Filed 03/06/06 Page 3 of 3

DVD Rumor Response-07.27.05 Page 5 ot ¥

Now, about this anonymous post and other info coming out, I’m a little skeptical about the information
regarding the extreme negative content of the DVD, First, if it is accurate, then I guess it is the content I
would have seen if I had gotten involved -- and, what, WWE expected me to just take it all in with a
grain of salt and a Grand Canyon size dose of humor when I viewed it myself to respond with my own
commentary? | mean, I realize there are many who don’t want to ‘get it’ about who | really am outside
the distinct impression Ultimate Warrior left, and can’t seem to grasp what I have bluntly said for many
years, but did they really expect I would just forget who I am, what I’ve said, how aporessively and
capably | am unafraid to say it -- that I would just leave all of the REAL ME at home when I showed up
to speak for myself? No, of course not, I never expected the absence of any criticism. I knew there __

would be some, Please. But this recent info about the extreme negative content seems dramatically
overdone.

Second, like I told a trusted acquaintance, I can’t imagine WWE would do this, I mean, the damn reality
doesn't square with the radical fantasy they'd be putting forth that my personal life is in shambles, | am
genuinely a kook and Ultimate Warrior's WWE career was illegitimate and worthless. In addition to that,
whenever you spend that kind of time, effort and money to disparage and ridicule someone or
something, you, by default, only reveal how great you truly believe it is. L mean, attempting to paint the
Ultimate Warrior persona in the same light as a Doink or Repo Man or one of these meaningless
characters is a desperate stretch even for a company run by liars depending on the “work.” My friend's
response, though, was spot on: “] am very very surprised, on one hand, that Vince and his company have
(ifis true) taken the UW DVD project and tumed it into a complete farce. And on the other hand, I'm
not, Vince, to me, seems like a man who doesn't always put good business sense over his own ego and
stupid ideas. He is like a child who throws his toys when he doesn't get his own way, and is very
malicious and vindictive. I mean, why would you throw away money you could earn from the millions
of Warrior fans by turning the DVD into a joke? It seems Vince is going to make this DVD laughable so
he can say ‘See, UW doesn't draw, he doesn't sell!”

About the end goal my friend believes WWE possibly intends to achieve, I’m not so sure l agree. But
about Vinee’s approach to things, I had to admit, he was right. Hell, I should be the first not to forget
that. When you view it that way -- that it is so unimaginable — it becomes exactly why, in Vince’s
World, it is imaginable. Vince a has long standing reputation dealing with consequences after the fact,
instead of thinking them through beforehand. The whole crew up there, taking their lead from Vince,
moves on shitty ideas even before seeing if they stick even slightly to the wall.

Sull, [don’t know. My gut tells me this. Vince got my rejection, picked up the phone and screamed an
order to release this info to see how I would react, see if | would reveal any emotional concern or bother
that the project was going to be a hit piece, as the info relays, and conceivably drive me to reach back
out pressing hard to involve myself, thereby getting in exchange WWE’s assurance that they would
produce a more positive piece. As far as 1 know, and would not find hard to believe, they have two
versions in the can -- one negative, one positive. And they have simply waited to get one or the other
promotional word out until they found out whether I would be involved or not. Now on notice that |
have passed, they release this press telling that the project will be negative figuring it might cause me to
crawl on my knees and agree to involvement on their lopsided terms, to prevent the dark portrayal they
are threatening withoul my involvement.

Ah, the headgames, Vince, you can’t go without playing. It seems that you are maybe sitting on the
fence. ‘If Warrior agrees to be involved, we will do this -- if not, we will do that.’ You know, whenever
I sit on the fence my balls hurt. You, Vince, used to brag, back in your more independent and more
creative days, that you were a guy with three balls. After all these years, though, it’s really disappointing
to see that you've only become more juvenile and childlike. It’s quite obvious, shrivel by shrivel, you've
lost your balls altogether. So I know you can’t be in any pain straddling that fence. But maybe you do

http://www-ultimatewamor.com/DVDRumorResponse-07.27.05.htm 08/03/2005
